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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

  UNWIRED GLOBAL SYSTEMS
  LLC,

                      Plaintiff,              C.A. NO. 23-01172-CFC
        v.

  TELIT WIRELESS SOLUTIONS,                   JURY TRIAL DEMANDED
  INC.,

                      Defendant.

          UNOPPOSED MOTION FOR EXTENSION OF TIME
      FOR DEFENDANT TO ANSWER OR OTHERWISE PLEAD TO
                  PLAINTIFF’S COMPLAINT

      Plaintiff UNWIRED GLOBAL SYSTEMS LLC (“Plaintiff”) files this

unopposed motion for an order extending the deadline for Defendant TELIT

WIRELESS SOLUTIONS, INC. (“Defendant”) to respond to Plaintiff’s Complaint

for Patent Infringement until and including December 26, 2023. No party will be

prejudiced by this extension. Accordingly, Plaintiff respectfully submits that good

cause exists under Fed. R. Civ. P. 6(b)(1)(A) for the requested extension. This is

the first request for an extension of this nature.


 Date: October 27, 2023                      Respectfully submitted,

                                             /s/ John C. Phillips, Jr.
                                             John C. Phillips, Jr. (#110)
                                             Megan C. Haney (#5016)
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                                        Attorneys for Plaintiff
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              SO ORDERED, this ________ day of ________________ 2023.




              The Honorable Colm F. Connolly
              Chief, United States District Court Judge




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